20-50805-rbk Doc#51 Filed 06/08/20 Entered 06/08/20 15:31:37 Main Document Pg 1 of 1

                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                               DIVISION


  IN RE:
                                                       CASE NO.
                                                       CHAPTER 11

  PROCEEDING MEMO - §341 MEETING ON                                  , AT

  1.       Disclosure statement filed by attorney for debtor pursuant to 11 U.S.C. § 329 and
           Bankruptcy Rule 2016(b):

  2.       Debtor(s) appeared:

  3.       Counsel for debtor(s) appeared:

  4.       Meeting adjourned to                              , at

           OR

           Meeting concluded:

  5.       Notes of Presiding Officer:




  DATE PETITION FILED:
  BAR DATE:
  PLUS      DAYS:

  CREDITORS' COMMITTEE FORMED:                         NOTICE OF APPOINTMENT FILED:




                                                                     Presiding Officer
